USCA Case #23-3190              Document #2028463         Filed: 11/23/2023 Page 1 of 26
                                                    U.S. Department of Justice

                                                    Special Counsel’s Office



Special Counsel’s Office                            Washington, D.C. 20530


                                                    November 23, 2023

Mark J. Langer
Clerk, U.S. Court of Appeals for the District of Columbia Circuit
E. Barrett Prettyman United States Courthouse
333 Constitution Avenue NW
Washington, DC 20001

                   Re:     United States v. Donald J. Trump, No. 23-3190
                           (Argued November 20, 2023)

Dear Mr. Langer:

       The Government submits this letter pursuant to Federal Rule of Appellate
Procedure 28(j), to notify the Court of a document filed on November 22, 2023, in
connection with the appeal of an order imposed in New York v. Trump, et al., Index
No. 452564/2022, which was referenced in the parties’ briefing, see Govt. Br. at 6-7;
Def. Reply at 2, 9, and arises out of an incident that the district court discussed at
the October 16, 2023 hearing, see JA.192-93. Specifically, the Government refers the
Court to Exhibit E to the attached affidavit, which is a sworn affirmation by an
employee of the New York State Unified Court System, assigned to the Judicial
Threats Assessment Unit, discussing the defendant’s October 3, 2023 social media
post, which “resulted in hundreds of threatening and harassing voicemail messages
that have been transcribed into over 275 single spaced pages.”

      Because the parties referenced this matter in their briefs, and the Court
inquired at oral argument about evidence of ongoing threats and harassment, the
Government respectfully submits Exhibit E (and the related documents, for
completeness) as supplemental authority.

                                                    Respectfully,

                                                     /s/ Cecil W. VanDevender
                                                    Cecil W. VanDevender
                                                    Assistant Special Counsel
                                                    U.S. Department of Justice
                                                    950 Pennsylvania Ave, N.W.
                                                    Rm. B-206
                                                    Washington, D.C. 20530
FILED: USCA Case #23-3190
       APPELLATE          Document
                   DIVISION  - 1ST#2028463    Filed: 11/23/2023
                                    DEPT 11/22/2023             Page 2 of 262023-05859
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NYSCEF DOC. NO. 9                                                                      RECEIVED NYSCEF: 11/22/2023


          SUPREME COURT OF THE STATE OF NEW YORK
          APPELLATE DIVISION: FIRST JUDICIAL DEPARTMENT
          In the Matter of the Application of

          DONALD J. TRUMP, DONALD J. TRUMP, JR.,
          ERIC TRUMP, ALLEN WEISSELBERG, JEFFREY
          MCCONNEY, THE DONALD J. REVOCABLE
          TRUST, THE TRUMP ORGANIZATION, INC.,
          THE TRUMP ORGANIZATION, LLC, DJT HOLDINGS                                   Case No. 2023-05859
          LLC, DJT HOLDINGS MANAGING MEMBER,
          TRUMP ENDEAVOR 12 LLC, TRUMP OLD POST                                        AFFIRMATION
          OFFICE LLC, 40 WALL STREET LLC,                                              IN OPPOSITION
          AND SEVEN SPRINGS LLC,

                                        Petitioners,

          for a Judgment pursuant to Article 78
          of the Civil Practice Law and Rules

                 -against-

          THE HONORABLE ARTHUR F. ENGORON,
          J.S.C., AND PEOPLE OF THE STATE OF NEW YORK
          by LETITIA JAMES, ATTORNEY GENERAL OF THE
          STATE OF NEW YORK,

                                  Respondents.
          __________________________________________________


                 LISA M. EVANS, an attorney duly admitted to practice law before the Courts of the

          State of New York, affirms under penalties of perjury, the truth of the following:


                 1.      I am a Deputy Counsel in the Office of Court Administration of the State of New

          York, and am of counsel to David Nocenti, attorney for Justice Arthur F. Engoron, a Justice of the

          Supreme Court, New York County (“Justice Engoron”). I make this affirmation in opposition to

          Petitioners’ request for a stay of the enforcement of the limited gag orders issued by Justice

          Engoron in People of the State of New York v. Donald Trump, et al., Index No. 452564/2022.

                                                          1
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       2.      On or about November 16, 2023, Petitioners filed the within Article 78 proceeding

by Order to Show Cause, seeking, inter alia, a stay of four gag orders issued by Justice Engoron

in an ongoing trial before him pending an adjudication of their article 78 petition. On October 3,

2023, Justice Engoron issued a limited gag order prohibiting all parties in the underlying action

from making any public statements about members of his staff (See October 3, 2023 Transcript

annexed hereto as Exhibit A). On October 20, 2023, the court issued its second order sanctioning

Petitioner Donald J. Trump for violating the October 3, 2023 order for failing to remove a

disparaging and untrue post of his law clerk from his web site (See October 20, 2023 Order

annexed hereto as Exhibit B).

       3.      The Court issued its third order on October 26, 2023, again sanctioning Donald J.

Trump for violating the October 3, 2023 gag order on October 25, 2023, when Mr. Trump, during

a break in the trial, made the following statement to the press outside of the courtroom: “This judge

is a very partisan judge with a person who’s very partisan sitting alongside him, perhaps even more

partisan than he is.” The Court found that this statement was referring to his Principal Law Clerk

and in violation of the October 3, 2023 order (See October 26, 2023 Order annexed hereto as

Exhibit C). On November 3, 2023, the Court issued a fourth order prohibiting “all counsel from

making any public statements, in or out of court, that refer to any confidential communications, in

any form, between my staff and me.” (See November 3, 2023 Order annexed as Exhibit D).

       4.      Petitioners’ application for a stay of the gag orders pending the adjudication of the

within article 78 proceeding should be denied. Petitioners have no likelihood of success on the

merits. By this proceeding, petitioners are seeking the extraordinary remedy of prohibition which

“lies only where there is a clear legal right and only when the body or officer acts or threatens to


                                                 2
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act without jurisdiction over which it has no power over the subject matter or where it exceed[s]

its authorized powers in a proceeding over which it has jurisdiction.” Hirschfeld v. Friedman, 307

A. D. 2d 856, 858 (1st Dep’t 2003) quoting Matter of Holtzman v. Goldman, 71 N.Y. 2d 564, 569

(1988). “Prohibition is never available merely to correct or prevent trial errors of substantive law

or procedure, however grievous.” Matter of Hirschfeld , 307 A. D. 2d at 858.

       5.      Petitioners cannot establish that they have a clear legal right to the relief sought.

Petitioners allege that the gag orders violate their First Amendment Right to free speech. While

prior restraints are viewed with a strong presumption against their validity, this Court has

recognized that “reasonable limitations may be placed on speech where an important

countervailing interest is being served.” Fischetti v. Scherer, 44 A.D. 3d 89, 93 (1s Dep’t 2007)

Here, as set forth in the Affirmation of Charles Hollon annexed hereto as Exhibit E, it is

unquestionable that the conduct engaged in by Petitioners -- the deluge of the court’s chambers

phone and the law clerk’s personal cell phone, personal emails and social media accounts with

hundreds of threatening, harassing, disparaging and antisemitic messages -- which threatens the

safety of court staff is the type of countervailing interest being served that warrants the imposition

of the limited gag orders imposed by the Court.

       6.      The First Amendment does not prohibit courts from limiting speech that threatens

the safety of the court’s staff. Courts have broad discretion to control the conduct of litigants and

attorneys in ongoing proceedings. Sheppard v. Maxwell, 384 U. S. 333, 363 (1966) (“The Court

must take such steps by rule and regulation that will protect their process from prejudicial

interference.”). Here, the Court reasonably determined that the limited gag orders were necessary

for the protection of its staff and to protect the ongoing trial from prejudicial interferences. While


                                                  3
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freedom of expression is given wide range, “it must not be allowed to divert the trial from the very

purpose of a court system to adjudicate controversies, both criminal and civil, in the calmness and

solemnity of courtroom according to legal procedure.” Sheppard, 384 U.S. 350-51.

       7.      Petitioners also seek a stay of the sanctions imposed against Mr. Trump for

violating the gag orders. The issue of granting a stay is moot since, as petitioners concede, Mr.

Trump already has paid the sanctions. See, Petition ¶ 107.

       8.      Based on the foregoing and for the reasons set forth in the Affirmation in

Opposition to Motion for a Stay submitted by the New York State Attorney General, it is

respectfully requested that Petitioners’ application for a stay of the gag orders and sanctions

imposed for violating the court’s gag orders be denied.




                                                               Lisa M. Evans
November 22, 2023




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        EXHIBIT A
xSCEF DOC. NO. 1619                                            RECEIVED NYSCEF: 10/26/2021
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                                         1 nF
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NYSCEF DOC. NO. 1619                                                                                        RECEIVED NYSCEF:            10/26/2023
         USCA Case #23-3190                         Document #2028463                   Filed: 11/23/2023               Page 8 of 26
            People of the State of New York v.
            Donald J. Trump, et al - CORRECTED                                                                                   October 3, 2023
            D. Bender - Direct by Mr. Wallace                                             -
                                                                     Page 267 D. Bender Direct by Mr. Wallace                           Page 269

             i    through the document, please.                                  1      A No, I did not.
             2          Mr. Bender, do you recognize this document?                     Q After the time that you disengaged from the Trump
             3
             4
                     A The document
                     Q What's that?
                                                —                                2
                                                                                 3
                                                                                 4
                                                                                     engagement, did you have any personal contact with Donald J.
                                                                                     Trump?
             5       A Repeat the question, please?                              5     A No, I did not.
             6       Q Do you recognize this document?                           6     Q Before seeing him in the courtroom the last two days,
             7       A Yes, I do.                                                7   when was the last time you saw Donald J. Trump in person?
             8      Q What is this document?                                   8     A It was before Covid. It was December, 2019.
             9       A This is the representation letter for the DJT - the     9     Q And do you remember in what context that was?
            10   compilation of the personal financial statement of Donald J. io     A Yes. Ms. Trump had invited by son to a
            11   Trump, as of June 30, 2020.                                  11 Christmas party for children, to make ornaments, and I had to
            12              MR. WALLACE: If we could go to the bottom of 12 get some papers signed by Mr. and Ms. Trump.
            13       this document.                                           13     Q Since that meeting, did you have any conversations
            14      Q Do you recognize the signature on the left hand side 14 with Mr. Trump?
            15   of the screen?                                               15     A No, I have not.
            16      A Yes, I do.                                              16     Q Did you have any conversations with Mr. Trump about
            17      Q Whose signature is that?                                17 the decision by Mazars to end the engagement with the Trump
            18      A It's Allen Weisselberg.                                 is Organization?
            19      Q And in what capacity is Mr. Weisselberg signing this 19        A No, I did not.
            20   document?                                                    20     Q Did you have any in-person meetings with Mr. Trump
            21      A Chief Financial Officer and Trustee of the Donald J. 21 about the decision by Mazars to end to the relationship with the
            22   Trump Revocable Trust.                                       22 Trump Organization?
            23      Q And do you recognize the signature on the right hand 23        A No, I did not.
            24   side?                                                        24             MR. WALLACE: Your Honor, we reserve our right to
            25      A Yes, I do.                                              25     re-direct; or cross, if they go beyond the scope of his

            D. Bender - Direct by Mr. Wallace                        Page 268 D. Bender - Direct by Mr. Wallace                         Page 270

            1      Q Whose signature is that?                                    1      testimony. We have no more questions at this time, of
            2      A That's Donald J. Trump, Junior's signature.                 2      Mr. Bender.
            3      Q And in what capacity is he signing this document?           3             THE COURT! Mr. Kise, do you want five minutes to
            4      A Executive Vice President of the Trump Organization,     4          cross exam?
            5    and Trustee of the Donald J. Trump Revocable Trust.         5                 MR. KISE: Do we want to --just, probably better
            6               MR. WALLACE: Your Honor, we would ask that this 6           to just take our break.
            7        document be entered into evidence?                      7                 THE COURT: 1 thought you would say that. Give
            8               THE COURT: Granted. It's in evidence.            8          me one second.
            9             (Whereupon, Plaintiffs Exhibit 855 was received    9                 (Whereupon, there was a pause in the
           10        in evidence.)                                          io          proceedings.)
           11       Q And Mr. Bender, would Mazars have issued the 2020 11                     THE COURT: Okay. We are going to resume at
           12    Statement of Financial Condition if Mr. Weisselberg and 12             2:15. Have a good lunch, everybody.
           13    Mr. Trump did not offer these representations?             13                 (Whereupon, a recess was taken.)
           14       A No, we would not have.                                14                    ******
           15       Q Would Mazars have issued the 2020 Statement of 15                         THE COURT: Welcome back, everyone.
           16    Financial Condition if it knew that any representations 16                   This morning, one of the defendants posted, to a
           17    contained in this letter were false?                       17         social media account, a disparaging, untrue and personally
           18       A No, we would not have.                                18         identifying post about a member of my staff. Although 1
           19       Q Mr. Bender, did you work on Statements of Financial 19           have since order the post deleted, and apparently it was,
           20    Condition for Mr. Trump in any later years?                20          it was also emailed out to millions of other recipients.
           21       A No, we did not.                                       21           Personal attacks on members of my court staff are
           22       Q Why not?                                              22         unacceptable, inappropriate, and I will not tolerate them,
           23       A Mazars disengaged from the Trump Organization. 23                 under any circumstances. Yesterday, off the record, I
           24       Q And did you have any involvement in the decision to 24           warned counsel of this, and this was disregarded. My
           25    disengage from the Trump engagement?                       25          warning was disregarded.


           Min t.-Sc< ipiX                                                                                                 (23) Pages 267 - 270



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NYSCEF DOC. NO. 1619                                                                                            RECEIVED NYSCEF: 10/26/2023
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            People of the State of New York v.
            Donald J. Trump, et al - CORRECTED                                                                                        October 3, 2023
            Proceedings                                                                      -
                                                                       Page 271 D. Bender Cross by Mr. Suarez                                 Page 273

             1             Consider this statement a gag order forbidding           1      Q And Mr. Bender, preparing the president's Statements
             2      all parties from posting, emailing, or speaking publicly        2   of Financial Condition, that was a big job; wasn't it,
             3      about any members of my staff. Any failure to abide by          3   Mr. Bender?
             4      this directive will result in serious sanctions. 1 hope         4      A It wasn't a big job. It was part of my normal
             5       I've been very clear.                                          5   engagement.
             6              Okay. Let's get Mr. Bender back.                        6      Q Part of your normal engagement, I see. In 20 11 alone,
             7              MR. KISE: While we're waiting, Judge, I'll just         7   the first Statement of Financial Condition that the Attorney
             8      observe, this will be better for me because I don't have to     8   General had you talk about, the president had over $258 million
             9      stand up and object when there's a document, since it's         9   in cash, Mr. Bender. You don't think that's a significant
            io       cross examination.                                            io   engagement?
            n              THE COURT: Are we up to cross?                          n       A No, sir.
            12              MR. SUAREZ: Your Honor, I'll take the                  12      Q Okay. The president had a company with a brand value
            13      opportunity to introduce myself. My name is Jesus Suarez. 13        ofoverSlO-, maybe even $20 billion, Mr. Bender. That, for
            14      Thank you for admitting me, pro hac vice. I practice with 14        you, wasn't a significant engagement?
            15       Mr. Kise, in Florida.                                         15      A No, sir.
            16             THE COURT: Of course. I remember the                    16      Q Okay. Now, is that because you were the in-house
            17       application.                                                  17   accountant at the Trump Organization for over 30 years,
            18
            19
            20
            21
                           MR. SUAREZ: I don't speak as nicely as he does.
                             THE COURT: Well, almost nobody does, so
                            MR. SUAREZ: Is my mike on? Now my mike is on.
                            THE COURT: Is he as good in the office as he is
                                                                              —    18
                                                                                   19
                                                                                   20
                                                                                   21
                                                                                        Mr. Bender?
                                                                                          A I wasn't the in-house accountant.
                                                                                          Q Okay. So who was?
                                                                                          A The in-house accountant?
            22      in court?                                                      22     Q Yes.
            23              MR. SUAREZ: He is certainly as charming in the         23     A Mr. McConney, Mr. Weisselberg. They were the in-house
            24      office as he is in court, but he almost never picks up         24   accountants.
            25      lunch. I don't know what that's about.                         25     Q Mr. McConney. Mr. McConney worked with you at Spahr

            D. Bender - Cross by Mr. Suarez                                                  -
                                                                       Page 272 D. Bender Cross by Mr. Suarez                                 Page 274

             i              That was a joke. Mr. Kise picks up lunch.               i Lacher?
             2              MR. KISE: You are forgetting all the dinners.           2    A Yes, he did.
             3              THE COURT: They don't laugh at mine, either, so.        3    Q May have been responsible for giving you the name Doc?
             4              (Whereupon, the witness resumed the witness             4    A He wasn't, but he kept it going.
             5       stand.)                                                        5    Q Did they call you Doc because you were good at
             6            THE COURT: I'll remind the witness, as usual,             6 documented transactions? That was the Doc?
             7     that he is still under oath.                                     7    A No.
             8            THE WITNESS: Thank you.                                   8    Q It's a cute nickname.
             9            THE COURT: Counsel, please proceed.                       9       Was Mr. Weisselberg an accountant?
            io   CROSS EXAMINATION                                                 io    A He was an accountant.
            11   BY MR. BENDER:                                                    ii    Q Mr. Weisselberg is a CPA?
            12     Q Mr. Bender, good afternoon.                                   12    A No. He is not a CPA.
            13     A Good afternoon.                                               13    Q Mr. McConney is a CPA?
            14     Q We have met before?                                           14    A No. Mr. McConney is not a CPA.
            15     A Good afternoon.                                               15    Q Okay. So who was the in-house accountant at the Trump
            16            THE COURT: That's a question. Have you met               16 Organization, Mr. Bender?
            17     before?                                                         17    A Mr. Weisselberg, and his team.
            18    Q We have met before. We met in April of 2023, when I            18    Q All right. You did work for the Trump Organization
            19   took your deposition on behalf of the defendants. Do you          19 for over 35 years; did you not, Mr. Bender?
            20   recall, sir?                                                      20    A Excuse me?
            21      A Yes, sir.                                                    21    Q You did work for the president and his company, the
            22      Q Okay. Mr. Bender, you have been up here testifying           22 Trump Organization, for over 35 years?
            23   for the last day about the Statements of Financial Condition of   23    A Approximately.
            24   the 45th President of the United States. Is that correct?         24    Q Approximately. In fact, you came to work with the
            25      A     Yes, sir.                                                25 Trump Organization through a gentlemen named Mr. Mitnick; didn't


            Min4>Scnpt^:                                                                                                         (24) Pages 271 - 274
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         EXHIBIT B
[FILED;USCA
        NEW Case
             YORK#23-3190 Document
                   COUNTY CLERK    #2028463
                                10/20/2023     Filed:PM)
                                            03:33     11/23/2023 INDEX
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                                                                       NO.11 of 26
                                                                           452564/2022
NYSCEF DOC. NO. 1584                                                                   RECEIVED NYSCEF: 10/20/2023




                       SUPREME COURT OF THE STATE OF NEW YORK
                                 NEW YORK COUNTY
         PRESENT:      HON. ARTHUR F. ENGORON                              PART                37
                                                              Justice
                                                                    X
          PEOPLE OF THE STATE OF NEW YORK, BY LETITIA
          JAMES, ATTORNEY GENERAL OF THE STATE OF NEW
                                                                           INDEX NO-          452564/2022
                                                                                                           —
          YORK,

                                         Plaintiff,

                                  -v-
          DONALD J. TRUMP, DONALD TRUMP JR, ERIC TRUMP,
          ALLEN WEISSELBERG, JEFFREY MCCONNEY, THE
          DONALD J. TRUMP REVOCABLE TRUST, THE TRUMP
          ORGANIZATION, INC., TRUMP ORGANIZATION LLC, DJT
          HOLDINGS LLC, DJT HOLDINGS MANAGING MEMBER,
          TRUMP ENDEAVOR 12 LLC, 401 NORTH WABASH
          VENTURE LLC, TRUMP OLD POST OFFICE LLC, 40 WALL
          STREET LLC, SEVEN SPRINGS LLC,

                                         Defendants.
                                                                    X

         On October 3, during a break in this trial, defendant Donald Trump posted to his social media
         account an untrue, disparaging, and personally identifying post about my Principal Law Clerk. I
         spoke to defendants, both on and off the record. Off the record, I ordered Donald Trump to
         remove the post immediately. Approximately 10 minutes later, Donald Trump represented to me
         that he had taken down the offending post, and that he would not engage in similar behavior
         going forward. I then, on the record, imposed on all parties to this action a very limited gag
         order, ‘’forbidding all parties from posting, emailing, or speaking publicly about any members of
         my staff,” emphasizing, quite clearly, that ’‘personal attacks on members of my court staff are
         unacceptable, inappropriate, and I will not tolerate them under any circumstances.” I further
         made clear that “failure to abide by this directive will result in serious sanctions.”

        Despite this clear order, last night 1 learned that the subject offending post was never removed
        from the website “DonaldJTrump.com,” and, in fact, had been on that website for the past 1 7
        days. 1 understand it was removed late last night, but only in response to an email from this
        Court,

        Today, in open Court, counsel for Donald Trump stated that the violation of the gag order was
        inadvertent and was an “unfortunate part of the process that is built into the campaign structure.”
        Giving defendant the benefit of the doubt, he still violated the gag order. Conners v Pallozzi.
        241 AD2d 719, 719 (3d Dept 1997) (“[cjontrary to defendants’ claim on appeal, a finding of
        civil contempt does not require a showing that such disobedience was willful”).



                                    OTHER ORDER - NON-MOTION

                                                       1 of 2                                                  Paae 1 of 2
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                    COUNTY Document #2028463
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                                             03:33   PM)           Page  12452564/2022
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         Further, whether intentional or the result of mere “campaign structure” negligence, the effect of
         the post on its subject is unmitigated by how or why it remained on Donald Trump’s website for
         17 days. Moreover, a defendant may not evade liability for violating a court order by asserting
         that the violation was a result of the actions of one or more of the defendant’s employees or
         agents.

         In the current overheated climate, incendiary untruths can, and in some cases already have, led to
         serious physical harm, and worse.

         Donald Trump has received ample warning from this Court as to the possible repercussions of
         violating the gag order. He specifically acknowledged that he understood and would abide by it.
         Accordingly, issuing yet another warning is no longer appropriate; this Court is way beyond the
         “warning” stage.

         Given defendant's position that the violation was inadvertent, and given that it is a first time
         violation, this Court will impose a nominal fine, $5,000, payable to the New York Lawyers’
         Fund for Client Protection, within ten (10) days of the date of this order.

         Make no mistake: future violations, whether intentional or unintentional, will subject the violator
         to far more severe sanctions, which may include, but are not limited to, steeper financial
         penalties, holding Donald Trump in contempt of court, and possibly imprisoning him pursuant to
         New York Judiciary' Law § 753.




        DATE: 10/20/2023

        Check One:                     Case Disposed                    X    Non-Final Disposition

        Check if Appropriate:          Other (Specify




                                                        2 of 2                                                 Paae 2 of 2
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         EXHIBIT C
                                                                                             INDEX NO. 452564/2022
IFILED USCA
       : NEW YORK COUNTY CLERK 10/26/2023 12:05 PM|
            Case #23-3190 Document #2028463 Filed: 11/23/2023
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                                                                                                NYSCEF:   26




                       SUPREME COURT OF THE STATE OF NEW YORK
                                 NEW YORK COUNTY
         PRESENT:      HON. ARTHUR F. ENGORON                              PART               37
                                                              Justice
                                                                    X
          PEOPLE OF THE STATE OF NEW YORK, BY LETITIA                      INDEX NO-          452564/2022
          JAMES, ATTORNEY GENERAL OF THE STATE OF NEW
          YORK,

                                         Plaintiff,

                                  -v-
          DONALD J. TRUMP, DONALD TRUMP JR, ERIC TRUMP,
          ALLEN WEISSELBERG, JEFFREY MCCONNEY, THE
          DONALD J. TRUMP REVOCABLE TRUST, THE TRUMP
          ORGANIZATION, INC., TRUMP ORGANIZATION LLC, DJT
          HOLDINGS LLC, DJT HOLDINGS MANAGING MEMBER,
          TRUMP ENDEAVOR 12 LLC, 401 NORTH WABASH
          VENTURE LLC, TRUMP OLD POST OFFICE LLC, 40 WALL
          STREET LLC, SEVEN SPRINGS LLC,

                                         Defendants.
                                                                    X

         On October 3, on the record, I imposed on all parties to this action a very limited gag order,
         “forbidding all parties from posting, emailing, or speaking publicly about any members of my
         staff,” emphasizing, quite clearly, that “personal attacks on members of my court staff are
         unacceptable, inappropriate, and I will not tolerate them under any circumstances” (emphasis
         added). I further made clear that “failure to abide by this directive will result in serious
         sanctions.”

         Despite this unambiguous order, last week I learned that Donald Trump had failed to abide by it
         by not removing, for a total of 17 days, from the website of donaldjtrump.com an untrue,
         disparaging and personally identifying post about my Principal Law Clerk. Counsel for
         defendant stated in open court that the violation of the gag order was inadvertent. Taking
         counsel at his word, I imposed a $5,000 nominal sanction against Donald Trump for the first-
         time violation of the gag order.

         On October 25, during a break order from the trial, Donald Trump made the following statement
         to a gaggle of reporters outside the courtroom: “This judge is a very partisan judge with a person
         who’s very partisan sitting alongside him, perhaps even more partisan than he is.” Quite clearly,
         defendant was referring, once again, to my Principal Law Clerk, who sits alongside me on the
         bench.

         Defendant’s attorneys offered the explanation that Donald Trump was referring to Michael
         Cohen, who had been sitting on the witness stand. I then conducted a brief hearing, during


                                    OTHER ORDER - NON-MOTION

                                                                                                              Pane 1 of 2
                                                       1 of 2
(FILED:USCA
         NEWCase
             YORK         CLERK 10/26/2023
                   COUNTY Document          12:05    PM)                                      INDEX NO. 452564/2022
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         which Donald Trump testified, under oath that he was referring to Michael Cohen. However, as
         the trier of fact, I find this testimony rings hollow and untrue. The Oxford English Dictionary
         defines “alongside” as “close to the side of; next to.” Witnesses do not sit “alongside” the judge,
         they sit in the witness box, separated from the judge by a low wooden barrier. Further, Donald
         Trump’s past public statements demonstrate him referring to Michael Cohen directly by his
         name, or by a derogatory name, but in all circumstances, he is unambiguous in making it known
         he is referring to Michael Cohen.

         Moreover, the language Donald Trump used on October 25 mirrors the language he used in
         public statements to the press on October 2, wherein he inappropriately and unquestionably
         spoke about my Principal Law Clerk, stating: “this rogue judge is a trump hater, the only one that
         hates trump more is his associate up there, this person that works with him, and she’s screaming
         into his ear.”

         Using imprecise language as an excuse to create plausible ambiguity about whether defendant
         violated this Court’s unequivocal gag order is not a defense; the subject of Donald Trump’s
         public statement to the press was unmistakably clear. As the trier of fact, I find that Donald
         Trump was referring to my Principal Law Clerk, and that, as such, he has intentionally violated
         the gag order.

         This is the second violation of this Court’s gag order in the less than one month since this trial
         commenced. Accordingly, this Court imposed a fine of $10,000 on defendant Donald Trump, to
         be paid to the New York Lawyers’ Fund for Client Protection, within thirty (30) days of October
         25, 2023.

         Further, Donald Trump is ordered to post proof of payment, of this fine and the one imposed on
         October 10, 2023, to NYSCEF within two days of making such payments.




         DATE: 10/26/2023                                              ARTHUR F. ENGORON, JSC

         Check One:                    Case Disposed                   X   Non-Final Disposition

         Check if Appropriate:         Other (Specify




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           Case #23-3190 Document #2028463 Filed: 11/23/2023
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                       SUPREME COURT OF THE STATE OF NEW YORK
                                 NEW YORK COUNTY
         PRESENT:      HON. ARTHUR F. ENGORON                               PART                37
                                                               Justice
                                                                     X
          PEOPLE OF THE STATE OF NEW YORK, BY LETITIA                        INDEX NO.          452564/2022
          JAMES, ATTORNEY GENERAL OF THE STATE OF NEW
          YORK,

                                          Plaintiff,

                                   -v-                                        SUPPLEMENTAL LIMITED
                                                                                   GAG ORDER
          DONALD J. TRUMP, DONALD TRUMP JR, ERIC TRUMP,
          ALLEN WEISSELBERG, JEFFREY MCCONNEY, THE
          DONALD J. TRUMP REVOCABLE TRUST, THE TRUMP
          ORGANIZATION. INC.. TRUMP ORGANIZATION LLC, DJT
          HOLDINGS LLC, DJT HOLDINGS MANAGING MEMBER,
          TRUMP ENDEAVOR 12 LLC, 401 NORTH WABASH
          VENTURE LLC, TRUMP OLD POST OFFICE LLC, 40 WALL
          STREET LLC, SEVEN SPRINGS LLC,

                                          Defendants.
         ~        -                                                  X

         On October 3, 2023, after Defendant Donald J. Trump posted to his social media account an
         untrue, disparaging, and personally identifying post about my Principal Law Clerk, 1 imposed on
         all parties to this action a very limited gag order, “forbidding all parlies from posting, emailing,
         or speaking publicly about any members of my staff,” emphasizing, quite clearly, that "personal
         attacks on members of my court staff are unacceptable, inappropriate, and I will not tolerate
         them under any circumstances.” I further made clear that “failure to abide by this directive will
         result in serious sanctions.”

         On October 20, 2023, upon learning that Donald .1. Trump failed to remove the post from one of
         his campaign websites, donaldjtrump.com, for a total of 17 days, I imposed a fine of $5,000.00
         against Donald J. 'frump for violating the gag order. On October 25, 2023, after conducting a
         brief hearing, 1 concluded that Donald J. Trump had intentionally violated my gag order by
         stating to a gaggle of reporters outside the courtroom the following statement in reference to my
         Principal Law Clerk: “This judge is a very partisan judge with a person who’s very partisan
         sitting alongside him, perhaps even more partisan than he is,” and fined him an additional
         $10,000.00.

         I imposed the gag order only upon the parties, operating under the assumption that such a gag
         order would be unnecessary upon the attorneys, who arc officers of the Court.

         Over the past week, defendants’ principal attorneys, namely, Christopher Kise (admitted pro hoc
         vice) (Continental PLLC), Clifford Robert (Robert & Robert PLLC) and Alina Habba (Habba


                              OTHER ORDER - NON-MOTION
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         Madaio & Associates LLP), have made, on the record, repeated, inappropriate remarks about my
         Principal Law Clerk, falsely accusing her of bias against them and of improperly influencing the
         ongoing bench trial. Defendants' attorneys have made long speeches alleging that it is improper
         for a judge to consult with a law clerk during ongoing proceedings, and that the passing of notes
         from a judge to a law clerk, or vice-versa, constitutes an improper “appearance of impropriety”
         in this case. These arguments have no basis.

         Pursuant to 22 NYCRR § 1 00.3(B)(6)(6)(c): “A judge may consult with court personnel
         whose function is to aid the judge in carrying out the judge's adjudicative responsibilities
         or with other judges” (emphasis added). This is precisely the role of a Principal Law Clerk in
         the New York State Courts.

         Moreover, ethics advisory opinions have further emphasized that: “The relationship between a
         judge and his/her law clerk is one of particular trust and confidence. Although a judge and
         his/her law clerk are of course not ‘partners,’ the two engage in the kind of professional
         interchange that might be found between long-time colleagues in a law firm." Advisory Opinion
         07-04. available at https://wwvv.nycourts.gov/ipiudicialethicsopinions/07-04.htm.

         As I have stated on the record, seemingly to no avail, my law clerks arc public servants who arc
         performing their jobs in the manner in which I request. T his includes providing legal authority
         and opinions, as well as responding to questions I pose to them. Plainly, defendants are not
         entitled to the confidential communications amongst me and my court staff, who are hired
         specifically to aid me in carrying out my adjudicative responsibilities. Nor arc they entitled to
         continue referencing my staff in the record. Defendants’ attorneys have had ample opportunity
         to make their record, and they have at length. Indeed, I will assist them by repeating here that I
         will continue to consult with my staff, as is my unfettered right, throughout the remainder of the
         trial. Accordingly, defendants’ record is now fully preserved for the duration of the proceedings.
         Defendants’ attorneys may refer back to this blanket statement in their appeal as they deem
         appropriate. Defendants may reference my staff as is appropriate to ask about scheduling issues
         or the management of the trial, w’hich is an integral part of their jobs. What they may not do is to
         make any further statements about internal and confidential communications (be it conversations,
         note passing, or anything similar) between me and my staff.

        Defendants’ first Amendment arguments in opposition to the imposition are wholly
        unpersuasive. This gag order is as nanowdy tailored as possible to accomplish its purpose, which
        is to protect the safety of my staff and promote the orderly progression of this trial. As I have
        made clear, as the Judge in this case and the trier of fact, the gag order docs not apply to me.
        I lowever, I will not tolerate, under any circumstances, remarks about my court staff. The threat
        of, and actual, violence resulting from heated political rhetoric is well-documented. Since the
        commencement of this bench trial, my chambers have been inundated with hundreds of harassing
        and threating phone calls, voicemails, emails, letters, and packages. The first Amendment right
        of defendants and their attorneys to comment on my staff is far and away outweighed by the
        need to protect them from threats and physical harm.




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        Thus, for the reasons stated herein, I hereby order that all counsel are prohibited from making
        any public statements, in or out of court, that refer to any confidential communications, in any
        form, between my staff and me.

        Failure to abide by this directive shall result in serious sanctions.




                                          NOV 0 3                    ARTHUR F. ENGORON



        DATE: 11/3/2023                                                 ARTHUR F. ENGORON, JSC

        Check One:                    Case Disposed                   | X | Non-Final Disposition
        Check if Appropriate:          Other (Specify




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         EXHIBIT E
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 SUPREME COURT OF THE STATE OF NEW YORK
 APPELLATE DIVISION: FIRST JUDICIAL DEPARTMENT
 In the Matter of the Application of

 DONALD J. TRUMP, DONALD J. TRUMP, JR.,
 ERIC TRUMP, ALLEN WEISSELBERG, JEFFREY
 MCCONNEY, THE DONALD J. REVOCABLE
 TRUST, THE TRUMP ORGANIZATION, INC.,
 THE TRUMP ORGANIZATION, LLC, DJT HOLDINGS                                   Case No. 2023-05859
 LLC, DJT HOLDINGS MANAGING MEMBER,
 TRUMP ENDEAVOR 12 LLC, TRUMP OLD POST                                        AFFIRMATION
 OFFICE LLC, 40 WALL STREET LLC,
 AND SEVEN SPRINGS LLC,

                               Petitioners,

 for a Judgment pursuant to Article 78
 of the Civil Practice Law and Rules

        -against-

 THE HONORABLE ARTHUR F. ENGORON,
 J.S.C., AND PEOPLE OF THE STATE OF NEW YORK
 by LETITIA JAMES, ATTORNEY GENERAL OF THE
 STATE OF NEW YORK,

                               Respondents.



        CHARLES HOLLON, who is not a party to the action, affirms the following to be true
   under the penalties of perjury:

        1.      lam employed by the New York State Unified Court System (“UCS”), as a Court

 Officer-Captain in the Department of Public Safety (“DPS”). I am assigned to the Judicial Threats

 Assessment Unit of the DPS. As such, I am familiar with threats, disparaging comments, and

 harassing messages, made to and about Justice Arthur F. Engoron (“Justice Engoron”), and his

 staff via emails, telephone, and social media outlets. I am also aware that the personal emails and

 cell phone number of Allison Greenfield, Principal Law Clerk to Justice Engoron, (“Allison

 Greenfield”), have been compromised. I make this affirmation in opposition to Petitioners’ request


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  for a stay of the enforcement of the limited gag orders issued by Justice Engoron in People of the

  State of New York v. Donald Trump, et al., Index No. 452564/2022.

         2.      The DPS provides security services at every New York State courthouse to ensure

  the safety and security of judges, nonjudicial personnel, court visitors, litigants and anyone

  entering the courthouse. The Judicial Threats Assessment Unit is made up of uniformed personnel

  who are trained on how to carefully analyze reported threats in order to determine possible courses

  of action necessary to secure the safety of the judges.

         3.      Once a judicial threat has been reported, court administration, local law

  enforcement, and court staff are notified by trained uniformed personnel that a threat exists. After

  a reported threat is carefully analyzed and is determined to be credible, security measures are put

  in place to ensure the safety of the judge, the judge’s staff and family members.

         4.      Prior to the commencement of the trial in the underlying matter, the judicial threats

  unit became aware of harassing and disparaging comments and threats made about and toward

  Judge Engoron on social media. Once we conducted our assessment that found the threats credible,

  we contacted local law enforcement, the FBI and Homeland Security to devise the appropriate

 security measures that would be implemented in order to protect the judge, his chambers staff, and

  those closely associated around him, including his family.

         5.     On or after October 3, 2023, the threats, harassment, and disparaging comments

 increased exponentially and also were now being directed at the judge’s law clerk.

 Specifically, on October 3, 2023, Mr. Trump posted to his social media account a picture of

 Allison Greenfield with United States Senator Charles Schumer with the added caption:

 “Schumer’s girlfriend, Allison R. Greenfield, is running this case against me. Flow Disgraceful!

 This case should be dismissed immediately.” Although Mr. Trump did not directly threaten Ms.



                                                   2
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  Greenfield, the comments made in his post resulted in hundreds of threatening and harassing

  voicemail messages that have been transcribed into over 275 single spaced pages.

            6.       Ms. Greenfield’s personal information, including her personal cell phone number

  and personal email addresses also have been compromised resulting in daily doxing. She has been

  subjected to, on a daily basis, harassing, disparaging comments and antisemitic tropes. I have been

  informed by Ms. Greenfield that she has been receiving approximately 20-30 calls per day to her

  personal cell phone and approximately 30-50 messages per day on combined sites of social media,

  Linkedln and two (2) personal email addresses. Ms. Greenfield also informed me that since the

  interim stay was issued lifting the gag orders on November 16, 2023, approximately half of the

  harassing and disparaging messages have been antisemitic.

            7.       Judges who receive threats are advised to not make public statements discussing

  the threats or any security measures that may be in place because doing so could compromise the

  security measures put in place to protect them and those around them.

            8.       The threats against Justice Engoron and Ms. Greenfield are considered to be serious

  and credible and not hypothetical or speculative. In order to provide this court with the seriousness

  of the threats being made against Justice Engoron and his staff, below is a representative sample

  of the hundreds of threats, disparaging and harassing comments and antisemitic messages that are

  directed at the judge and his staff.

            9.      The following are transcriptions of voicemail messages left on Justice Engoron’s

  chambers telephone:

                 A. You know. I'm not going to. Call you too many names. Today, I mean, it's clear.
                    You're you're little fruit cake. You like to abuse children, I'm sure. And your
                    shirtless pictures. Very inappropriate. I mean, you're so inappropriate. But you're
                    clearly. A ******* dork.1 Massive quant. I mean everything about you screams
                    little fagot dork. So again. I hope they. ******* bury your ugly ***. You and that

  1
    The software used to transcribe the voicemails censors profanity. The asterisks contained in the transcriptions are
  used in place of the profanity.
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             fat ******* ***** ******* p|anet of the apes ******* star letisha the *******
             ****. Little ******* Jews and. Filthy little Jews and. That's you. And I hate that
             word. And I hate. Putting people under group but you are filthy little Jews and.
             And you make everything about. This ****, you ******* hateful, divisive. I mean,
             honestly, you should be assassinated. You should be killed. You should be not
             assassin executed. You should be executed. But on trial executed for your crimes.
             You sick ******* pig and yOU shut it there and laugh as you ******* abuse this
             system because you abuse people you. ******* tyrant. And play this for the FBI
             and you can all **** yourself, you little *******. Please call me, you *******
             losers. ******* stupid *****. I mean, it's. Clear. I've talked to. A bunch of you
             ******* dumb *************. J mean the stupidity. I mean, if we ever want to
             come for you. But Ebi will be eliminated in a ******* day. Bunch of *******
             morons. To listen if any of you silly little **** want to talk, go ahead and call me,
             y QU ******* *****

         B. Yes, Arthur, you are a corrupt Nazi and one of the ugliest people to ever walk the
            face of the earth. And your clerk, who's also corrupt Nazi is a fat ***** who blew
            Chuck Schumer and everybody knows it. You are such a lowlife. No one would
            ever want to sleep with you. You look like ****. You're corrupt. You're going to
            get overturned and I hope you get gonorrhea from letisha James the fat grimace
                     ************

         C. Resign now, you dirty, treasonous piece of trash snake. We are going to get you
            and anyone of you dirty, backstabbing, lying, cheating American. You are nothing
            but a bunch of communists. We are coming to remove you permanently.

         D. Trust me. Trust me when I say this. I will come for you. I don't care. Ain't nobody
            gonna stop me either. I'll send every hacker in the world after every little file on
            you. And they will expose you. Any little dirty secret you have, you will not hide
            from me. I do not stand with Joseph Biden or what you are doing. I stand with the
            12 houses of Israel. And in God we trust. Is the American way. Know that the
            blood runs red.

         E. Do you think being a judge changes the fact that you're a pathetic little ******?
            You little ******* dork with your little ******* Jew girl. ******* helper, *****.
            You ******* stupid ****. God, I hope you ******* die. I hope they *******
            come for you and ******* string you up. All you little *******. Watch you ****
            your pants and **** yourself before it happens. You think you're untouchable.
            God, I hope they ******* come for you again. Not a threat. I don't hurt anybody.
            I don't have. A voice other than to. ******* call and tell you that I'll be rooting for
            the people that come for you. I'll be cheering on your death or your demise. And
            because to the point where you forced us, I'll ******* bite you. But you'll have to
            make it so I'm starving, and I'll again be the ones telling people how to **** with
            you because. 1 believe in God. I don't believe in hurting people, but you've made
            it to the point where I hope you get hurt because you're ******* pathetic. You
            look so *******. What a little fagot. You don't realize what a dork you are, do
            you? Probably wasn't fun on the school ground for little. Egghead and a little
            Jewish *****. But that chick is fat and ugly and you're. Very offensive of her. She
            stuck your. ****, but she sucks your little ******* micro penis, doesn't she, judge
            ******7 Look, ******* bunch of losers. By losers? Geeks, freaks. *******. And
            dirty Jews. And I love Jewish. People. But there's dirty Jews like you. Just like
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                   there's dumb. I love black people. But you know what? You guys want to make it
                   all about. Identity and you know. What dirty Jews and stupid? Go die. I hope you
                   all die. We're not going to kill you. I'm not going to kill you. I don't want anybody
                   else to kill you because I don't want them to get in trouble. I just hope you die of
                   like. You're stupidity. We'll probably get you killed, you lazy ******* filthy ****.
                   Goodbye, 1 hope you. Have another horrible day? Ohh Trump made you. Look like
                   a *****. What a little ******* whiny. Did she eat? Understand. Everybody sees
                   what a little fagot you are. A little dork and freak Trump owns you, *****. I'm
                   sure your aid. Would love to get that daddy Trump ******* planting that ****
                   right up her ***. Freaky ******* ***** Your little ******* clerk. Humors, you
                   know, was it her boyfriend? Probably just sucked his balls too.

               F. Oh, and Allison, you are. I mean, there's nothing you can do. About that ugly face.
                  But he look at his raeli women, Israeli Jews and beautiful in shape. And then there's
                  ******* pig. Jews like you. Fat ******* stupid *******. 1 mean, lay off the
                  Twinkies, you *****. You're clearly a ***** and a child molester. You *******
                  pedophilic *****. Anyway, listen. You look like ****. You're ******* filthy.
                  Ugly. Dirty. I bet your ***** smells like a ******* garbage disposal. Guaranteed.
                  Anyway, lose some ******* weight. Have a little pride in yourself, you fat *****.

               G. Arthur, you lowlife ***** ** ****. Violating people's civil rights. You *******
                  scumbag ***** ** ****. You and lalita. James with your witch hunt. The funny
                  thing is, once this or with remember, for every action there's a reaction. So don't
                  get mad when you come. ******* hunt down. ******* we witch hunt. You and
                  your family. We're going to take you to court. Take your kids, drag them in
                  ******* court. How your parents are probably turning over in their *******
                  grave. ******* liberal ***** ** ****. You should be more worried about your
                  ******* city and all the ******* robberies and ******* stabbings and then
                  ******* murders and carjackings, but you're jealous of Donald Trump, you
                  ******* scumbag. Pieces of ******* ****. You're ******* low. Like Arthur. I'll
                  be calling you back again, you ******* ***** ** **** You ******* scumbag
                  ************ Qfo yeah, you're ******* clerk Alison ******* Greenfield. She's
                  a ***** ** **** Yfiat's that ***** too. Lilita. James, you fat ******* **** You
                  can't even ******* make sense when you go, girl. Girl, girl, Merrill, Merrill. Peril.
                  We got real peril. Meryl guy. You're a ******* ******** ***** (Oo, you fat ****.
                  You guys are going to reap what you sow. So don't get. Talking mad.


        10.       The messages received by Justice Engoron and his staff every day has created an

 ongoing security risk for the judge, his staff and his family.

        1 1.      The implementation of the limited gag orders resulted in a decrease in the number

 of threats, harassment, and disparaging messages that the judge and his staff received. However,

 when Mr. Trump violated the gag orders, the number of threatening, harassing and disparaging

 messages increased.


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         12.     On a daily basis, the judge and his staff are being inundated with hundreds of

  harassing and threatening phone calls, voicemail messages, and emails, that has resulted in the

  Judicial Threats Assessment Unit having to constantly reassess and evaluate what security

  protections to put in place to ensure the safety of the judge and those around him.




                                                                 Charles Hollon
  November^, 2023




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